  Case 2:20-cv-00078-LGW-BWC Document 16 Filed 09/25/20 Page 1 of 2


                                                                                                FILED
                                                                                     John E. Triplett, Acting Clerk
                                                                                      United States District Court

                                                                                  By mgarcia at 3:45 pm, Sep 25, 2020


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 JANICE THERESA DOLLAR, as personal
 representative of the Estate of Michael Lamar
 Dollar, and individually,

                Plaintiff,                                  CIVIL ACTION NO.: 2:20-cv-78

        v.

 MONSANTO COMPANY,

                Defendant.


                                     RULE 502(d) ORDER

       This matter is before the Court on the parties’ Joint Motion for an order pursuant to

Federal Rule of Evidence 502(d). Doc. 11. After a review of the record, the Court finds that

good cause to enter such an order exists. The Court, therefore, GRANTS the parties’ Joint

Motion, doc. 11, and ORDERS the following:

       I.      The production of privileged or work-product protected documents, electronically

stored information (“ESI”), or information, whether inadvertent or otherwise, is not a waiver of

the privilege or protection from discovery in this case or in any other federal or state proceeding.

This Order shall be interpreted to provide the maximum protection allowed by Federal Rule of

Evidence 502(d).

       II.     Nothing contained herein is intended to or shall serve to limit a party’s right to

conduct a review of documents, ESI, or information (including metadata) for relevance,

responsiveness, or
  Case 2:20-cv-00078-LGW-BWC Document 16 Filed 09/25/20 Page 2 of 2



segregation of privileged or protected information before production.

       SO ORDERED, this 25th day of September, 2020.




                                     ____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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